                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                                  )
    NOCTIVITY INC.,                           )
                                              )
                             Plaintiff,       )
                                              )
    v.                                        )                      COMPLAINT
                                              )
                                              )
     INFINITY LOOP CAPITAL                    )
                                              )
                             Defendant.       )
                                              )

         Plaintiff Noctivity, Inc. (“Noctivity”), as and for its Complaint against Defendant Infinity

Loop Capital (“ILC”), hereby alleges as follows:

                                          NATURE OF THE ACTION

         1.     This is an action under the trademark laws of the United States, 15 U.S.C. §§§ 1114,

1125(a), and 1125(d) for trademark infringement, unfair competition and violations of the

Anticybersquatting Consumer Protection Act, respectively. This action arises out of Defendant’s

intentional and willful business decisions to ignore Noctivity’s trademark rights in its registered

domain names, website content, and in its advertising.

         2.     Plaintiff Noctivity, through this lawsuit, seeks to immediately stop Defendant from

continuing injurious actions, from which Noctivity has suffered irreparable harm, and which will

continue unless Defendant is enjoined from further abuse of Noctivity’s trademarks.

                                               PARTIES

         3.     Noctivity is a corporation organized and existing under the laws of the State of

Delaware, having its principal place of business at 19825 North Cove Road, Suite 173 Cornelius,

North Carolina 28031.

                                              Page 1 of 11

          Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 1 of 11
        4.      Upon information and belief, Infinity Loop Capital is a limited liability company

located at 111 Sandra Muraida Way Apt 6c Austin, Texas 78703.

                                    JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

1121 (actions arising under the Federal Trademark Act) and 28 U.S.C. §§ 1331, 1332, and 1338(a)

and (b).

        6.      This Court has personal jurisdiction over Defendant consistent with the U.S.

Constitution because, on information and belief, Defendant regularly and actively conducts

business in this State and judicial district, including but not limited to the sale and advertising of

North Carolina Department of Motor Vehicles examination study materials.

        7.      This Court has personal jurisdiction over Defendant because Defendant does

substantial business and sales in this district, and advertises, distributes, offers for sale, and sells

the infringing products in this District. Defendant has purposefully availed itself and directed its

business at the opportunities of this District. Defendant committed tortious acts in this district

against Plaintiff whose principle place of business is located in this District.

        8.      On information and belief, Defendant is offering its services to customers residing

in this State and District.

        9.      Venue is proper in the United States District Court for the Western District of North

Carolina pursuant to 28 U.S.C. §§ 1391(b) –(d) because a substantial part of the events giving rise

to the claims raised in this lawsuit occurred in this District.




                                               Page 2 of 11

           Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 2 of 11
                                                FACTS

       10.     Noctivity is the owner of U.S. Trademark Registration No. 5,181,010 for the

DMVCHEATSHEETS® trademark for use in connection with various education services

including training, instruction, and practice examinations in the field of driver’s education.

       11.     Since 2008, Noctivity has offered study guides and practice tests for students

preparing for their driver’s license permit exam under the mark DMVCHEATSHEETS®. Its

services can be viewed and purchased at https://www.dmvcheatsheets.com/.

       12.     Noctivity promotes the visibility of its website with search engine optimization and

has engaged Google AdWords advertising campaigns all directed to promote its driver’s education

services under its DMVCHEATSHEETS® mark.

       13.     On information and belief, on or about November 15, 2017, Defendant purchased

examination preparatory materials from Noctivity’s https://www.dmvcheatsheets.com/ domain

with continued paid web access.

       14.     On information and belief, in 2018, Defendant purchased the dmvcheatsheet.org

and dmv.cheat-sheets.com domains through which Defendant offered for sale practice

examinations in the field of driver’s education, and wherein the https://dmvcheatsheet.org domain

was made to redirect users to the https://dmv.cheat-sheets.com domain.

       15.     On May 14, 2018, Noctivity, by its counsel, delivered a Cease and Desist Demand

letter to Defendant regarding the counts identified herein.

                  COUNT I - TRADEMARK INFRINGEMENT – 15 U.S.C. § 1114

       16.     Continuously since 2008, Noctivity has used its DMVCHEATSHEETS®

trademark in connection with and to identify its educational services in the field of driver’s




                                              Page 3 of 11

         Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 3 of 11
education and to distinguish said services by, and without limitation, prominently displaying said

mark on its website and in its advertising and promotional materials.

       17.     Defendant has been a customer of Noctivity’s educational services and examination

preparatory materials since at least as early as 2017.

       18.     Defendant is selling and offering for sale in the United States products and services

it refers to as “DMV Cheat Sheets,” “Driver’s License Cheat Sheets,” and “DMV Written Test

Cheat Sheet” at the domain https://dmv.cheat-sheets.com/. The services offered under these marks

are study guides and test preparation materials for the drivers permit test offered in various states.

       19.     Defendant’s https://dmvcheatsheet.org domain was made to redirect to Defendant’s

https://dmv.cheat-sheets.com domain.

       20.     Defendant has infringed Plaintiff’s registered mark in interstate commerce by

various acts, including, without limitation,

                        i. The selling, offering for sale, promotion, and advertising of driver’s

                           educational services under the name DMV CHEAT SHEET, DMV

                           Written Test Cheat Sheet, and Driver’s License Cheat Sheets;

                       ii. The paid placement of advertising using the DMVCHEATSHEETS®

                           trademark as key words for search engines; and

                      iii. The registration of the https://dmvcheatsheet.org and https://dmv.cheat-

                           sheets.com domains for the sale of analogous goods and services.

       21.     On May 14, 2018, Counsel for the Plaintiff contacted the Defendant requesting that

Defendant suspend its https://dmv.cheat-sheets.com and https://dmvcheatsheet.org domains and

remove any mention or uses of Plaintiff’s registered DMVCHEATSHEETS® trademark from its




                                               Page 4 of 11

         Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 4 of 11
AdWords, metatags, domain page titles, website, marketing materials, advertisements,

correspondence, and URLs.

       22.     Counsel for Defendant responded on or around May 16, 2018 but has ignored

Noctivity’s requests to respect its intellectual property rights.

       23.     Defendant’s use of the infringing marks in connection with driver’s educational

services is without permission, license, or authority of Noctivity and said use is likely to cause

confusion, to cause mistake and/or to deceive a consumer in violation of 15 U.S.C. § 1114.

       24.     Defendant’s use of the infringing marks in connection with driver’s educational

services has been made notwithstanding Noctivity’s prior established rights in the trademark

DMVCHEATSHEETS® and with notice of Noctivity’s federal registration rights under 15 U.S.C.

§ 1072.

       25.     Defendant is not authorized or licensed to use the DMVCHEATSHEETS®

trademark.

       26.     The domain https://dmv.cheat-sheets.com is similar in sight, sound, meaning, and

overall commercial impression to Plaintiff’s DMVCHEATSHEETS® trademark.

       27.     The domain https://dmvcheatsheet.org is similar in sight, sound, meaning, and

overall commercial impression to Plaintiff’s DMVCHEATSHEETS® trademark.

       28.     The test preparation services being marketed and advertised by Defendant are either

identical or substantially similar to the educational service marketed, offered for sale, and sold by

Plaintiff under the DMVCHEATSHEETS® trademark.

       29.     Plaintiff and Defendant advertise and promote their test preparation services using

similar means of advertising, including through websites and with AdWords.




                                               Page 5 of 11

          Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 5 of 11
       30.     Plaintiff’s and Defendant’s educational services are sold and will be sold to the

same class of consumers through the same channels of trade, including through their websites.

       31.     Defendant’s use of https://dmv.cheat-sheet.com and other marks as alleged herein

is likely to cause confusion among consumers as to the affiliation, connection, association, origin,

sponsorship, or approval of Defendant’s test preparation services by Plaintiff’s.

       32.     Defendant’s use of https://dmvcheatsheet.org and other marks as alleged herein is

likely to cause confusion among consumers as to the affiliation, connection, association, origin,

sponsorship, or approval of Defendant’s test preparation services by Plaintiff’s.

       33.     Defendant’s use of the domain https://dmv.cheat-sheet.com infringes Plaintiff’s

rights in the DMVCHEATSHEETS® trademark.

       34.     Defendant’s use of the domain https://dmvcheatsheet.org infringes Plaintiff’s rights

in the DMVCHEATSHEETS® trademark.

       35.     Defendant is infringing, and if not enjoined, will continue to infringe Plaintiff’s

trademark rights in its DMVCHEATSHEETS® trademark.

       36.     Defendant’s actions, as alleged herein, have been intentional, willful, malicious,

and in complete disregard of Noctivity’s rights.

       37.     Defendant’s infringing activities will cause damage to Noctivity by, inter alia,

harming Noctivity’s sales, goodwill, and reputation.

       38.     Noctivity has no adequate remedy at law and will suffer irreparable harm and

damages as a result of Defendant’s acts in an amount not yet determined.

       39.     Unless immediately enjoined, Defendant’s unlawful conduct will irreparably harm

Noctivity through injury and loss to its business, reputation, and consumer goodwill.




                                             Page 6 of 11

         Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 6 of 11
                    COUNT II - UNFAIR COMPETITION – 15 U.S.C. § 1125(a)

        40.     Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        41.     Defendant has used the designations DMV CHEAT SHEET, DMV Written Test

Cheat Sheet, and Driver’s License Cheat Sheets in connection with driver education services in

interstate commerce in violation of 15 U.S.C. § 1125.

        42.     Defendant’s use of the designations DMV CHEAT SHEET, DMV Written Test

Cheat Sheet, and Driver’s License Cheat Sheets are a false designation of origin, a false or

misleading representation of fact which is likely to cause confusion and to cause mistake, and to

deceive as to the affiliation, connection, or association with Noctivity’s DMVCHEATSHEETS®

trademark as to the origin, sponsorship, or approval of Noctivity’s products and commercial

activities by Defendant.

        43.     Defendants are competing unfairly with Plaintiffs and have realized or will realize

unjust profits as a result of their unfair competition.

        44.     As alleged herein, Defendants have knowingly and willfully infringed Plaintiff’s

rights in their DMVCHEATSHEETS® trademark.

        45.     Defendant’s wrongful activities have caused, and unless enjoined by this Court

will continue to cause, irreparable injury and other damage to Noctivity’s business, reputation,

and good will in its DMVCHEATSHEETS® trademark including lost sales, lost profits, and lost

goodwill. Noctivity has no adequate remedy at law.

        46.     Plaintiffs are entitled to damages in an amount to be proven at trial, pursuant to 15

U.S.C. § 1117(a).




                                               Page 7 of 11

         Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 7 of 11
       47.     Plaintiff’s remedy at law is not adequate to address the harm Defendants have

caused and will continue to cause until their conduct is restrained, entitling Plaintiffs to

injunctive relief pursuant to 15 U.S.C. § 1116 and the equitable authority of this Court.

                   COUNT III - CYBERSQUATTING – 15 U.S.C. § 1125(d)

       48.     Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       49.     Upon information and belief, Defendant has a bad faith intent to profit from the

registration and use of the Internet domain name https://dmvcheatsheet.org by creating an

association with Plaintiff’s DMVCHEATSHEETS® trademark as to source or sponsorship.

       50.     Upon information and belief, Defendant has a bad faith intent to profit from the

registration and use of the Internet domain name https://dmv.cheat-sheets.com by creating an

association with Plaintiff’s DMVCHEATSHEETS® trademark as to source or sponsorship.

       51.     The second-level domain name portion of the https://dmvcheatsheet.org Internet

domain name is confusingly similar to, and dilutes the distinctive quality of, Plaintiff’s

DMVCHEATSHEETS® trademark.

       52.     The second-level domain name portion of the https://dmv.cheat-sheets.com

Internet domain name is confusingly similar to, and dilutes the distinctive quality of, Plaintiff’s

DMVCHEATSHEETS® trademark.

       53.     Plaintiff has been damaged by Defendant’s unlawful use of the

https://dmvcheatsheet.org domain name and will suffer irreparable harm.

       54.     Plaintiff has been damaged by Defendant’s unlawful use of the https://dmv.cheat-

sheets.com domain name and will suffer irreparable harm.

       55.     Defendant’s acts, as aforesaid, are in violation of the Anticybersquatting

Consumer Protection Act under Section 43(d) of the Lanham Act, 15 U.S.C. § 1125(d).



                                              Page 8 of 11

         Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 8 of 11
                                     DEMAND FOR JURY TRIAL

        56.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands

a trial by jury of all issues so triable in the matter.

                                         PRAYER FOR RELIEF

    Noctivity respectfully prays for the following relief:

        A.      That Defendant be adjudged to have infringed Noctivity’s registered

DMVCHEATSHEETS® trademark;

        B.      That Defendant be adjudged to have committed unfair competition by selling and

offering for sale driver’s educational services using the DMVCHEATSHEETS® trademark;

        C.      That Defendant be adjudged to have violated the Anticybersquatting Consumer

Protection Act by registering the https://dmvcheatsheet.org domain.

        D.      That Defendant be adjudged to have violated the Anticybersquatting Consumer

Protection Act by registering the https://dmv.cheat-sheets.com domain.

        E.      That the Court grant a preliminary and permanent injunction restraining

Defendant, its officers, directors, principals, agents, servants, employees, successors and assigns,

and all individuals acting in concert or participation with Defendant, from using, on or in

connection with any product or service, or the manufacture, importation, exportation, sale,

offering for sale, distribution, advertising, promotion, labeling or packaging of any product or

service, or using for any commercial purpose whatsoever: (1) the designation

DMVCHEATSHEET or similar terms; (2) the Internet domain names https://dmvcheatsheet.org

and https://dmv.cheat-sheets.com; (3) any other designation that is likely to cause dilution of the

distinctiveness of the Plaintiff’s DMVCHEATSHEETS® trademark or injury to plaintiff’s

business reputation; or (4) any other name, mark or term likely to cause mistake in the mind of



                                                 Page 9 of 11

          Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 9 of 11
the public or to deceive the public into the belief that defendant’s business and/or products

and/or services are in any way associated with or related to plaintiff or its products and/or

services;

       F.      Ordering the Domain Name Holder to relinquish all rights in the Internet domain

names https://dmvcheatsheet.org and https://dmv.cheat-sheets.com;

       G.      Directing Defendant to account to Plaintiff for any and all profits derived by it

from the sale of products or services through the use of the infringing mark or the accused

domain name;

       H.      An award of Defendant’s profits and actual damages suffered by Noctivity as a

result of Defendant’s acts of infringement and unfair competition, together with interest, and that

Noctivity’s recovery be trebled, pursuant to Section 35 of the Lanham Act (15 U.S.C. § 1117);

       I.      An award to Noctivity of its attorneys’ fees, costs and expenses incurred in

prosecuting this action, pursuant to Section 35 of the Lanham Act (15 U.S.C. § 1117);

       J.      An award of monetary damages against Defendant for damages caused by

Defendant’s false, misleading, deceptive, and/or tortuous acts;

       K.      An award of monetary damages against Defendant in the amount of Defendant’s

profits gleaned from its false, misleading, and or tortuous acts, pursuant to 15 U.S.C. § 1117;

       L.      An award of treble damages as a judgment against Defendant for its willful

violation of the Lanham Act pursuant to 15 U.S.C. § 1117;

       M.      An award of Plaintiff’s costs and attorneys’ fees pursuant to 15 U.S.C. § 1117;

       N.      That Noctivity be given such other and further relief as this Court may deem just

and proper.




                                             Page 10 of 11

        Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 10 of 11
Date: June 25, 2018

                                           Respectfully submitted,

                                           s/ Rebeca E. Harasimowicz /
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                                   Page 11 of 11

        Case 3:18-cv-00335-GCM Document 1 Filed 06/25/18 Page 11 of 11
